  Case: 1:10-cv-01168 Document #: 605 Filed: 03/31/14 Page 1 of 3 PageID #:10590



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                               )
                                                 )
                      Plaintiff,                 )
                                                 )
               v.                                )   Case No. 10 C 1168
                                                 )
CITY OF CHICAGO; former and current              )   Judge Matthew F. Kennelly
Chicago Police Officers DAVID                    )
O’CALLAGHAN, JOSEPH MURPHY, and                  )   Magistrate Judge Geraldine Soat Brown
DANIEL BRANNIGAN,                                )
                                                 )
                      Defendants.                )

   CITY DEFENDANTS’ MOTION TO BAR TESTIMONY REGARDING GEORGE
                 CARTER’S ALLEGATIONS OF ABUSE

       Defendants, City of Chicago, David O’Callaghan, Joseph Murphy, and Daniel Brannigan

(“City Defendants”), by their attorney, Terrence M. Burns of Dykema Gossett, PLLC, for their

motion to bar testimony regarding George Carter’s allegations of abuse, state:

       1.      On March 12, 2014 while being questioned by plaintiff’s attorney, George Carter

testified he was beaten by a group of Chicago Police officers, which was led by Joe Murphy.

(Transcript of George Carter’s March 12, 2014 testimony, attached hereto as Exhibit A, at 628-

29). Testimony regarding Carter’s allegations of abuse should be barred pursuant to Rule 402

because they are irrelevant and pursuant to Rule 403 as any probative value those allegations

may have is outweighed by a danger of unfair prejudice to the defendants.

       2.      At a sidebar following Carter’s testimony regarding his abuse allegations, this

Court asked defense counsel why no objection was made to that testimony. (Ex. A, at 658-659).

This Court suggested to defense counsel not to assume that the Court would rule the door is

opened to the introduction of other evidence where the defense does not object to objectionable
  Case: 1:10-cv-01168 Document #: 605 Filed: 03/31/14 Page 2 of 3 PageID #:10591



testimony, and told defense counsel with respect to Carter’s testimony: “You need to be

objecting.” Id. The City Defendants now do so through this motion.

       3.      Carter’s allegations are irrelevant to plaintiff’s claims because plaintiff has not

alleged the defendants obtained any evidence used against him through the alleged coercion

Carter. Therefore, Carter’s unsupported allegations are not relevant to the questions of whether

the defendants violated plaintiff’s due process rights or maliciously prosecuted him. Plaintiff has

not brought, nor could he have brought, a claim based on an alleged violation of George Carter’s

rights. Given the irrelevance of this testimony, its probative value is greatly outweighed by the

danger of unfair prejudice.

       WHERFORE, Defendants, the City of Chicago, David O’Callaghan, Joseph Murphy, and

Daniel Brannigan, respectfully request that this Court bar reference to or testimony regarding

George Carter’s allegations of abuse, and for any other relief this Court deems appropriate.




Date: March 31, 2014                                Respectfully submitted,


                                                    s/ Daniel M. Noland
Terrence M. Burns                                   One of the Attorneys for City Defendants
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                                                2
  Case: 1:10-cv-01168 Document #: 605 Filed: 03/31/14 Page 3 of 3 PageID #:10592



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2014, I electronically filed the foregoing Motion to

Bar Testimony Regarding George Carter’s Abuse Allegations with the Clerk of the Court

using the ECF system, which sent electronic notification of the filing on the same day to:

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                                                  s/ Daniel M. Noland
